Case 2:23-cv-12386-LVP-DRG ECF No. 1-2, PageID.12 Filed 09/20/23 Page 1 of 22




                       Exhibit A
             Case 2:23-cv-12386-LVP-DRG ECF No. 1-2, PageID.13 Filed 09/20/23 Page 2 of 22
                                                                       Original !Court                                               2nd copy - Plaintiff
  Approved, SCAO                                                       1st copy - Defendant                                          3rd copy - Return
         STATE OF MICHIGAN                                                                                                                 CASE NO.
36th                     JUDICIAL DISTRICT                                                                       23-',    s,                ;GC„
                          JUDICIAL CIRCUIT                                SUMMONS
                                      COUNTY
Court address                                                                                                                                           Court telephone no.
421 Madison St. Detrdiati:48226                                                                                                                         313-965-4158
Plaintiff's name, address, and telephone no.                                               Defendant's name, address, and telephone no.
Tykeisha Campbell                                                                          Spirit Airlines, Inc. and John Doe LLC
                                                                                           251 Little Falls Drive,
                                                                                           Wilmington, DE 19808


Plaintiff's attorney, bar no., address, and telephone no.
Ryan E. Hill (P68445)
Clayton P. Miller (P86291)
407 E. Fort St. Detroit, MI 48226
(313) 962-4945


Instructions: Check the items below that apply to you and provide any required information. Submit this form to the court clerk along with your complaint and,
if necessary, a case inventory addendum (MC 21). The summons section will be completed by the court clerk.


Do"tnestic Relations Case
❑ There are no pending or resolved cases within the jurisdiction of the family division of the circuit court involving the family or
   family members of the person(s) who are the subject of the complaint.
CI There is one or more pending or resolved cases within the jurisdiction of the family division of the circuit court involving
   the family or family members of the person(s) who are the subject of the complaint. I have separately filed a completed
   confidential case inventory (MC 21) listing those cases.
CI It is unknown if there are pending or resolved cases within the jurisdiction of the family division of the circuit court involving
   the family or family members of the person(s) who are the subject of the complaint.

Civil Case
CI This is a business case in which all or part of the action includes a business or commercial dispute under MCL 600.8035.
❑ MDHHS and a contracted health plan may have a right to recover expenses in this case. I certify that notice and a copy of
    he complaint will be provided to MDHHS and (if applicable) the contracted health plan in accordance with MCL 400.106(4).
ai There is no other pending or resolved civil action arising out of the same transaction or occurrence as alleged in the
   complaint,         •
n  A civil action between these parties or other parties arising out of the transaction or occurrence alleged in the complaint has-

    been previously filed in        CI this court,      0                                                                                               rIT-2 ,-,Cotut where
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    it was given case number                                              and assigned to Judge                                 a
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    The action     El remains C] is no longer               pending.                                                           k'o.Q-p,
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Summons section completed by court clerk.                                 SUMMONS                                               +.3.
                                                                                                                                                  "VI


 NOTICE TO THE DEFENDANT: In the name of the people of the State of Michigan you are notified:
 1. You are being sued.
.2. YOU HAVE 21 DAYS after receiving this summons and a copy of the complaint to file a written answer with the court
    and serve a copy on the other party or take other lawful action with the court (28 days if you were served by mail or you
    were served outside of Michigan).
 3. If you do not answer or take other action within the time allowed, judgment may be entered against you for the relief
    demanded in the complaint.
 4. If you require accommodations to use the court because of a disability or if you require a foreign language interpreter
    to help you fully participate in court proceedings, please contact the court immediately to make, arrangements.
Issue date                           Expiration date*                        Court clerk

_._._. .          .        .
       is summons is invalid unless
                                ess served on or before its expiration date. This document must be sealed by the seal of the court.

MC 01 (3/23)    SUMMONS                                                                       MCR 1.109(D), MCR 2.102(B), MCR 2.103, MCR 2.104, MCR 2.105
Case 2:23-cv-12386-LVP-DRG ECF No. 1-2, PageID.14 Filed 09/20/23 Page 3 of 22




                              STATE OF MICHIGAN
            IN THE 36th DISTRICT COURT FOR THE COUNTY OF WAYNE

TYKEISHA CAMPBELL,

                       Plaintiff,
                                                                         Case No. 23-           -GC
-vs-
                                                                         Hon.
SPIRIT AIRLINES, INC. and
JOHN DOE LLC.

                       Defendant,

DETROIT LEGAL GROUP, PLLC
Ryan E. Hill (P68445)
Clayton P. Miller (P86291)
Attorneysfor Plaintiff
407 E. Fort St. Ste 103
Detroit, MI 48226
P: 313-962-4954
F: 866-912:6311
                                                                                                    0 r")
rhill@detroitlegalgroup.com
cmiller@detroitlegalgroup.com

                                            COMPLAINT

 There is no pending or resolved civil action arising out of the transaction or occurrence alleged in the
                                                complaint.

       NOW COMES, Plaintiff, Tykeisha Campbell, by and through her attorneys, DETROIT

LEGAL GROUP, PLLC, in support of her Complaint states the following:

PARTIES AND JURISDICTION

   1. Plaintiff, Tykeisha Campbell, resides or does business in the County of Wayne, State of

       Michigan.

   2. Defendant, Spirit Airlines, Inc., does business in the County of Wayne, State of Michigan.

   3. Defendant, John Doe LLC., does business in the City of Detroit, County of Wayne, State

       of Michigan.

   4. The event giving rise to this action took place in the County of Wayne, State of Michigan.
Case 2:23-cv-12386-LVP-DRG ECF No. 1-2, PageID.15 Filed 09/20/23 Page 4 of 22




  5. The amount in controversy does not exceed $25,000 and is within the subject matter of this

     Honorable Court pursuant to MCL 600.8301.

  6. Venue is proper pursuant to MCL 600.1621.


                               GENERAL ALLEGATIONS

  7. On or about April 30th, 2023, at or around 12:30 A.M., Plaintiff and her husband were

     preparing to board their connecting flight (Flight NK2161) back home to Detroit, MI from

     Philadelphia, PA when they were notified by Defendant Spirit Airlines that their luggage

     had been lost, and they were given a number to call to report the issue.

  8. Plaintiff made it back to her home on May 1, 2023 where she called the number given to

     her by Defendant Spirit Airlines to request the status of her lost luggage.

  9. The next day, May 2, 2023 an individual from John Doe LLC. in connection with

     Defendant Spirit Airlines, with no Spirit Airlines identification showed up at her home

     with the luggage.

  10. On or around May 4, 2023 Plaintiff and her husband began to unpack the luggage and

     noticed that the luggage had been tampered with prior to its arrival. (Exhibit A, Photos of

     Locks).

  11. After further investigation of their luggage, Plaintiff and her husband realized that nearly

     half of their items totaling in excess of $10,000.00, were missing from their luggage.

     (Exhibit B, Item Receipts).

  12. Defendant Spirit Airlines breached the implied contract with Plaintiff regarding the

     handling and safety of her luggage and all of her belongings during travel.

  13. Defendant Spirit Airlines was negligent in its loss of Plaintiffs baggage for her connecting

     flight back to Detroit, MI.
Case 2:23-cv-12386-LVP-DRG ECF No. 1-2, PageID.16 Filed 09/20/23 Page 5 of 22




  14. Defendant Spirit Airlines was also negligent in its procedures for obtaining and returning

     the luggage to Plaintiff once it was found.

  15. Defendant John Doe, LLC., was negligent in its handling of Plaintiff's luggage in the return

     process.

  16. Defendant Spirit Airlines' negligence resulted in extensive financial loss to Plaintiff,

     totaling approximately $14,208.30. (Exhibit B, Item Receipts).

  17. Defendant Spirit Airlines employed John Doe LLC., who returned Plaintiff's baggage in

     its tampered with condition and both entities are liable for negligence.

  18. Defendants have severely damaged Plaintiff, losing her thousands of dollars.

  19. Plaintiff has been damaged aforesaid and as a result, exemplary damages should be

     awarded for Defendants' negligence and breach of contract.

          I.      BREACH OF CONTRACT (DEFENDANT SPIRIT AIRLINES)

  20. Plaintiff hereby incorporates and re-alleges the allegations set forth in the paragraphs

     above.

  21. A party asserting a breach of contract must establish by a preponderance of the evidence

     that (1) there was a contract (2) which the other party breached (3) thereby resulting in

      damages to the party claiming breach. Miller-Davis Co v Ahrens Constr, Inc, 495 Mich

      161, 178; 848 NW2d 95 (2014).

  22. Plaintiff agreed to terms of the implied contract with Defendant Spirit Airlines when she

      purchased her ticket under the belief that her luggage would be under the care of Defendant.

  23. On or about April 30th, 2023, at or around 12:30 A.M., Plaintiff and her husband were

      preparing to board they're connecting flight (Flight NK2161) back home to Detroit, MI
Case 2:23-cv-12386-LVP-DRG ECF No. 1-2, PageID.17 Filed 09/20/23 Page 6 of 22




     from Philadelphia, PA when they were notified by Defendant Spirit Airlines that their

     luggage had been lost, and they were given a number to call to report the issue.

  24. Defendant breached the implied contract by losing Plaintiff's luggage prior to her return

     and giving the luggage to John Doe, LLC, which resulted in the tampering of her bags

     along with the loss of some of her belongings.

  25. Plaintiff has been damaged aforesaid.

     II.    NEGLIGENCE (DEFENDANTS SPIRIT AIRLINES & JOHN DOE LLC)

  26. Plaintiff hereby incorporates and re-alleges the paragraphs above as inclusive as if more

     fully set forth herein.

  27. To establish a prima facie case of negligence, a plaintiff must demonstrate that (1) the

     defendant owed a duty to the plaintiff, (2) the defendant breached that duty, (3) the plaintiff

     suffered damages, and (4) the defendant's breach was a proximate cause of those damages.

     Jeffi'ey-Moise v Williamsburg Towne Houses Coop, Inc, 336 Mich App 616, 619; 971

     NW2d 716 (2021).

  28. On or about April 30th, 2023, at or around 12:30 A.M., Plaintiff and her husband were

     preparing to board they're connecting flight (Flight NI(2161) back home to Detroit, MI

     from Philadelphia, PA when they were notified by Defendant Spirit Airlines that their

     luggage had been lost and they were given a number to call to report the issue.

  29. As such, Defendant Spirit Airlines owed a duty to Plaintiff that it would exercise reasonable

     care in transporting Plaintiff's luggage throughout the entirety of her trip.

  30. Defendant John Doe LLC assisted Defendant Spirit Airlines in the returning of lost luggage

     process.
Case 2:23-cv-12386-LVP-DRG ECF No. 1-2, PageID.18 Filed 09/20/23 Page 7 of 22




   31. As such, Defendant John Doe LLC owed a duty to Plaintiff to adequately return her luggage

       to her without any damage to her luggage or her belongings.

   32. The next day, May 2, 2023 an undisclosed individual from John Doe LLC., with no Spirit

       Airlines identification showed up at her Detroit home with the luggage.

   33. On or around May 4, 2023 Plaintiff and her husband began to unpack the luggage and

       noticed that the luggage had been tampered with prior to its arrival. (Exhibit A, Photos of

       Locks).

   34. After further investigation of their luggage, Plaintiff and her husband realized that nearly

       half of their items totaling in excess of $10,000.00, were missing from their luggage.

       (Exhibit B, Item Receipts).

   35. Defendant Spirit Airlines breached its duty when it negligently lost Plaintiffs luggage and

       gave it to John Doe LLC for return once it was found.

   36. Defendant John Doe LLC breached its duty when it negligently tampered with Plaintiffs

       luggage and returned it with missing items.

   37. As a result of Defendants breaching their duties, Plaintiff suffered detrimental financial

       loss.

   38. Defendant Spirit Airlines was the proximate cause of Plaintiffs damages because of its

       failure to contract/employ a diligent and attentive company to adequately return Plaintiff s

       luggage.

                                     RELIEF REQUESTED

       WHEREFORE, Plaintiff respectfully prays that this Honorable Court enter judgement in

favor of Plaintiff for the counts listed above providing damages in the amount of $14,208.30,

attorney fees, and grant any other relief this Court deems fair and equitable.
Case 2:23-cv-12386-LVP-DRG ECF No. 1-2, PageID.19 Filed 09/20/23 Page 8 of 22




Dated: July 3, 2023                      /s/Ryan E. Hill
                                        DETROIT LEGAL GROUP, PLLC
                                        Ryan E. Hill (P68445)
                                        Clayton P. Miller (P86291)
                                        Attorneysfor Plaintiff
                                        407 E. Fort Street, Ste. 103
                                        Detroit, MI 48226
                                        (313) 962-4954
Case 2:23-cv-12386-LVP-DRG ECF No. 1-2, PageID.20 Filed 09/20/23 Page 9 of 22




                  EXHIBIT A
               or'
              Case 2:23-cv-12386-LVP-DRG ECF No. 1-2, PageID.21 Filed 09/20/23 Page 10 of 22




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Case 2:23-cv-12386-LVP-DRG ECF No. 1-2, PageID.23 Filed 09/20/23 Page 12 of 22




                   EXHIBIT B
        Case 2:23-cv-12386-LVP-DRG ECF No. 1-2, PageID.24 Filed 09/20/23 Page 13 of 22




                    LOUIS VUITTON
                                    LV TROY SAKS
                              2901 West Big Beaver Road
                                   TROY, MI 48084
                                    United States
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      Case 2:23-cv-12386-LVP-DRG ECF No. 1-2, PageID.25 Filed 09/20/23 Page 14 of 22
                                                            Monday, July 3, 2023 at 14:21:32 Eastern Daylight Time


Subject:            (none)
Date:                Thursday, June 29, 2023 at 3:51:34 PM Eastern Daylight Time
From:                Tykeisha Campbell
To:                 Joseph Alsedawi
Attachments: 6AA0038B-1B59-4C07-A477-93BED7ODFAAD.jpeg




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    Case 2:23-cv-12386-LVP-DRG ECF No. 1-2, PageID.26 Filed 09/20/23 Page 15 of 22




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        Shipping                                     Calculated at next step

        Taxes



        Total                                       USD   $1,686.30
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Tykeisha Campbell




                                                                               Page 2 of 2
      Case 2:23-cv-12386-LVP-DRG ECF No. 1-2, PageID.27 Filed 09/20/23 Page 16 of 22
                                                                                         Monday, July 3, 2023 at 14:21:42 Eastern Daylight Time


Subject:         (none)
Date:            Thursday, June 29, 2023 at 3:52:15 PM Eastern Daylight Time
From:            Tykeisha Campbell
To:              Joseph Alsedawi
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    Case 2:23-cv-12386-LVP-DRG ECF No. 1-2, PageID.28 Filed 09/20/23 Page 17 of 22



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          Delivery                                                 $0.00

          Taxes                                                  $39.60

          Credit                                                - $0.00

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          Total                                                $699.60

          Payment method                                    CreditCard-




Tykeisha Campbell




                                                                                Page 2 of 2
                                          Case 2:23-cv-12386-LVP-DRG ECF No. 1-2, PageID.29 Filed 09/20/23 Page 18 of 22




    STYLE NUMBER                                              DESCRIPTION                                        .SKU                           QTY                UNIT PRICE                TOTAL
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ou for your recent purchase with Gucci.com. we are committed to offering you exceptional customer service and want you to be completely satisfied with your order. We otter complimentary returns and
3nges for eligible merchandise by mail or in store within 30 days. Create your exchange or return and learn more about our policy by visiting returns.gucci.corn or contact our Client Services by calling
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Case 2:23-cv-12386-LVP-DRG ECF No. 1-2, PageID.30 Filed 09/20/23 Page 19 of 22



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Case 2:23-cv-12386-LVP-DRG ECF No. 1-2, PageID.31 Filed 09/20/23 Page 20 of 22
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    Taxes



    Total                                        USD   $1,199.03


             AA          josue-perzell.myshopify.com
:flange   Case 2:23-cv-12386-LVP-DRG ECF No. 1-2, PageID.32 Filed 09/20/23 Page 21 ofU.00
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'hank you for shopping with Louis Vuitton. Your product has been crafted by
Ixperienced artisans with the finest materials.
Please prevent any contact with oil or alcohol-based substances such as
!osmetics, perfumes, hand sanitizers, or disinfectants.

!he Saks Fifth Avenue Return Policy is applicable to all Louis Vuitton
terchandise purchased inside a Sake Fifth avenue Louis Vuitton location.




;old Item Count = 5



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                                                                                                             OF THE RETURN ADDRESS, FOLD AT DOTTED LINE


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  DETROIT LEGAL GROUP, PU.C                                                                                                                                                      FCM LG ENV
  407 E. FORT STREET SUITE 103                                                                                                                                                   LINCOLN PARK, MI 48146
      DETROIT, MI 48226                                                                                                                                                          AUG 28, 2023    •
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